             2:20-cv-02083-SLD # 11                      Page 1 of 2                                                                         E-FILED
                                                                                                       Friday, 12 June, 2020 12:40:20 PM
                                                                                                            Clerk, U.S. District Court, ILCD

                                 NOTICE OF LAWSUIT AND REQUEST FOR
                                        WAIVER OF SUMMONS

     Dustin Heuerman, Sheriff
TO: _____________________________________________________________________________
                                  (Defendant’s name)

         $ODZVXLWKDVEHHQFRPPHQFHGDJDLQVW\RX$FRS\RIWKHFRPSODLQWLVDWWDFKHGWRWKLVQRWLFH
,WKDVEHHQILOHGLQWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH&HQWUDO'LVWULFWRI,OOLQRLV8QLWHG6WDWHV&RXUW
KRXVHDQGKDVEHHQDVVLJQHGGRFNHWQXPEHU
        131 E. 4th St., Davenport, IA 52801
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          7KLVLVQRWDIRUPDOVXPPRQVEXWUDWKHUDUHTXHVWWKDW\RXVLJQDQGUHWXUQWKHHQFORVHGZDLYHU
RIVHUYLFHLQRUGHUWRVDYHWKHFRVWRIVHUYLQJ\RXZLWKDFRXUWVXPPRQVDQGDQDGGLWLRQDOFRS\RIWKH
FRPSODLQW7KHFRVWRIVHUYLFHZLOOEHDYRLGHGLIWKHFRXUWUHFHLYHVDVLJQHGFRS\RIWKHZDLYHU
ZLWKLQWKLUW\  GD\VDIWHUWKHGDWHGHVLJQDWHGEHORZDVWKHGDWHRQZKLFKWKLV1RWLFH
LVVHQW$QH[WUDFRS\RIWKHZDLYHUDQGQRWLFHLVDOVRDWWDFKHGIRU\RXUUHFRUGV

         ,I\RXFRPSO\ZLWKWKLVUHTXHVWDQGUHWXUQWKHVLJQHGZDLYHULWZLOOEHILOHGE\WKHFRXUWDQGQR
VXPPRQVZLOOEHVHUYHGRQ\RX7KHFDVHZLOOWKHQSURFHHGDVLI\RXKDGEHHQVHUYHGRQWKHGDWHWKH
ZDLYHULVILOHG, H[FHSWWKDW\RXZLOOQRWEHREOLJDWHGWRDQVZHUWKHFRPSODLQWEHIRUHVL[W\  GD\VIURP
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        ,I\RXGRQRWUHWXUQWKHVLJQHGZDLYHUZLWKLQWKHWLPHLQGLFDWHGWKHSODLQWLIIZLOOWDNH
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VXFKVHUYLFH,QWKDWFRQQHFWLRQSOHDVHUHDGWKHVWDWHPHQWFRQFHUQLQJWKHGXW\RISDUWLHVWRZDLYHWKH
VHUYLFHRIWKHVXPPRQVZKLFKLVVHWIRUWKDWWKHERWWRPRIWKHZDLYHUIRUP

         <RXVKRXOGPDNHFHUWDLQWKDWWKLVQRWLFHDQGZDLYHULVGHOLYHUHGWRZKRPHYHUZLOOUHSUHVHQW\RX
LQWKHUHIHUHQFHGOLWLJDWLRQ<RXVKRXOGDOVRQRWLI\WKDWSHUVRQWKDW\RXKDYHVLJQHGDQGUHWXUQHGWKH
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                                                        &HQWUDO'LVWULFWRI,OOLQRLV

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            2:20-cv-02083-SLD # 11                     Page 2 of 2
                                      WAIVER OF SERVICE OF SUMMONS


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               Dustin Heuerman, Sheriff
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 IRUDZDLYHURIVHUYLFHRIVXPPRQVLQWKHFDVHRIBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                     Chambers v. Heuerman, et al.,
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            ,KDYHDOVRUHFHLYHGDFRS\RIWKHFRPSODLQWLQWKHFDVH

          ,DJUHHWRVDYHWKHFRVWRIVHUYLFHRIDVXPPRQVLQWKLVODZVXLWE\QRWUHTXLULQJVHUYLFHRI
 MXGLFLDOSURFHVVLQWKHPDQQHUSURYLGHGE\)HGHUDO5XOHRI&LYLO3URFHGXUH

         ,UHWDLQDOOGHIHQVHVRUREMHFWLRQVWRWKHODZVXLWRUWRWKHMXULVGLFWLRQRUYHQXHRIWKHFRXUWH[FHSW
 IRUREMHFWLRQVEDVHGRQDGHIHFWLQWKHVXPPRQVRULQWKHVHUYLFHRIWKHVXPPRQV

          ,XQGHUVWDQGWKDWDUHVSRQVHWRWKHFRPSODLQWVKRXOGEHILOHGE\PHRURQP\EHKDOIE\
 ZKRPHYHUUHSUHVHQWVPHLQWKHFDVHZLWKLQVL[W\  GD\VRIWKHGDWH BBBBBBBBBBBBBBBBBBBBBB
                                                                                  6/12/2020
 WKHQRWLFHDQGZDLYHUZHUHVHQWWRPHE\WKHFOHUNRIWKHGLVWULFWFRXUW

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                                       'XW\WR$YRLG8QQHFHVVDU\&RVWVRI6HUYLFHRI6XPPRQV
          )HGHUDO5XOHRI&LYLO3URFHGXUHUHTXLUHVSDUWLHVWRFRRSHUDWHLQVDYLQJXQQHFHVVDU\FRVWVRIVHUYLFHRIWKHVXPPRQV
DQGFRPSODLQW$GHIHQGDQWORFDWHGLQWKH8QLWHG6WDWHVZKRDIWHUEHLQJQRWLILHGRIDFDVHDJDLQVWKLPDQGDVNHGWRZDLYH
VHUYLFHRIVXPPRQVIDLOVWRGRVRZLOOEHUHTXLUHGWREHDUWKHFRVWVRIVXFKVHUYLFHXQOHVVJRRGFDXVHLVVKRZQIRUIDLOXUHWRVLJQ
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          ,WLVQRWJRRGFDXVHIRUDIDLOXUHWRZDLYHVHUYLFHWKDWDSDUW\EHOLHYHVWKDWWKHFRPSODLQWLVXQIRXQGHGRUWKDWWKH
DFWLRQKDVEHHQEURXJKWLQDQLPSURSHUSODFHRULQDFRXUWWKDWODFNVMXULVGLFWLRQRYHUWKHVXEMHFWPDWWHURIWKHFDVHRUWKHSDUWLHV
$SDUW\ZKRZDLYHVVHUYLFHRIVXPPRQVUHWDLQVDOOGHIHQVHVDQGREMHFWLRQVWRWKHFDVHWKHMXULVGLFWLRQRIWKHFRXUWRUWKHSODFH
ZKHUHWKHFDVHKDVEHHQILOHG)LOLQJDZDLYHURIVHUYLFHJLYHVDGHIHQGDQWDGGLWLRQDOWLPHEH\RQGZKDWZRXOGEHDOORZHGLI
VXPPRQVZDVVHUYHGWRUHVSRQGWRWKHFRPSODLQW

         7KH3ULVRQHU&LYLO/LWLJDWLRQ5HIRUP$FW86&H J SURYLGHVWKDWDGHIHQGDQWLQDSULVRQHU¶VFLYLOULJKWV
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